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                  EXHIBIT 1
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 1           UNITED STATES DISTRICT COURT

 2           FOR THE WESTERN DISTRICT OF NEW YORK

 3           ----------------------------------------------

 4           BLACK LOVE RESISTS IN THE RUST, et al.,
             individually and on behalf of a class of
 5           all others similarly situated,

 6                                         Plaintiffs,

 7            -vs-                                  1:18-cv-00719-CCR

 8           CITY OF BUFFALO, N.Y., et al.,

 9                                         Defendants.

10           ----------------------------------------------

11             EXAMINATION BEFORE TRIAL OF JOSEPH GRAMAGLIA

12                           APPEARING REMOTELY FROM

13                            ERIE COUNTY, NEW YORK

14

15

16                              September 22, 2023

17                            9:05 a.m. - 5:15 p.m.

18                              pursuant to notice

19

20

21           REPORTED BY:

22           Carrie A. Fisher, Notary Public

23           APPEARING REMOTELY FROM ERIE COUNTY, NEW YORK




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 1           R E M O T E        A P P E A R A N C E S

 2           APPEARING FOR THE PLAINTIFFS:

 3                   NATIONAL CENTER FOR LAW
                     AND ECONOMIC JUSTICE
 4                   BY: CLAUDIA WILNER, ESQ.
                     50 Broadway, Suite 500
 5                   New York, New York 10004
                     (212) 633-6967
 6
             APPEARING FOR THE DEFENDANTS:
 7
                     HODGSON RUSS LLP
 8                   BY: CHEYENNE N. FREELY, ESQ.,
                     PETER SAHASRABUDHE, ESQ.,
 9                   and HUGH M. RUSS III, ESQ.,
                     140 Pearl Street
10                   Buffalo, New York 14202
                     (716) 848-1508
11
             ALSO PRESENT:
12
                     ANJANA MALHOTRA, ESQ.
13                   National Center for Law
                     and Economic Justice
14
15

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                                   JOSEPH GRAMAGLIA


 1      A. I a m .

 2      Q. A n d w h a t w a s t h e S t r i k e F o r c e ?

 3                    MS. FREELY:          Objection to form.              You can

 4           answer.

 5      A. T h e S t r i k e F o r c e w a s a u n i t t h a t w a s c r e a t e d ,

 6           a proactive-type unit.                Their -- they were not

 7           answering calls like a district police officer

 8           so they would not be directly dispatched to

 9           any calls.        They could certainly call out on

10           calls.      They could back up on calls, but their

11           primary focus was more of a proactive type of

12           unit.

13      Q. A n d w h a t w a s t h e m a i n m i s s i o n o f t h e S t r i k e

14           Force?

15                    MS. FREELY:          Objection to form.              You can

16           keep answering.

17                    THE WITNESS:          Oh, sorry.

18                    MS. FREELY:          As long as I say -- you

19           know, as long as I don't say don't answer.

20                    THE WITNESS:          Okay.

21      A. S o j u s t t o c l a r i f y a g a i n , I h a d n o o p e r a t i o n a l

22           command over Strike Force.                  When I became the

23           deputy commissioner, they had already been




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                                   JOSEPH GRAMAGLIA


 1           disbanded.         I was a district chief at the time

 2           and then a captain in Homicide and a patrol

 3           lieutenant.         At no time did I ever have any

 4           operational command over Strike Force.                          So,

 5           you know, the things that I could testify to

 6           were historical knowledge of the department

 7           but I at no time ever had any operational

 8           control over Strike Force.

 9      Q. O k a y .     I understand.          Are you aware of what

10           the Strike Force's mission was?

11                     MS. FREELY:         Same objection.

12      A. S o t h e i r m i s s i o n w a s a p r o a c t i v e u n i t .

13      Q. A n d w h a t d o e s t h a t m e a n , " a p r o a c t i v e u n i t " ?

14      A. I t c o u l d b e I g u e s s a v a r i e t y o f t h i n g s .

15           Again, I don't know what exactly, you know,

16           mission directives were given to them but

17           their job was to do a variety of things that

18           the commissioner at the time needed done.                             It

19           could be for gang and gun violence reduction

20           or any other needs -- any other needs that

21           would arise that the commissioner needed done.

22           They could respond to complaints.                       They could

23           respond to citizen complaints.                     At times we




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                                  JOSEPH GRAMAGLIA


 1           will get 311 calls, we will get community

 2           calls where there might be an issue for

 3           something, there's an uptick in something, and

 4           the Strike Force would be there to respond to

 5           those needs.         They were kind of an active

 6           flowing unit, if you will.

 7      Q. A n d w h e n y o u s a y t h e y c o u l d r e s p o n d t o

 8           civilian complaints, you don't mean as part of

 9           the Internal Affairs function, right?

10      A. N o , n o t a t a l l .     Again, on an operational

11           policing side.          So if there was a rise in

12           shootings in a particular area, then they

13           could be used to get into that area and try to

14           suppress that.          If there were other issues,

15           other community concerns, if there were, you

16           know, gang calls, if there were, you know, I

17           guess any issue that the commissioner of

18           police at the time deemed that needed more

19           service than the district could provide

20           because the district's primary responsibility

21           is to answer 911 calls and to keep up with

22           that so, you know, sometimes the extras

23           don't -- aren't able to be handled as




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                                   JOSEPH GRAMAGLIA


 1           efficiently because the districts are

 2           answering calls so Strike Force could be used

 3           to -- to deal with some, you know, conditions

 4           and help to alleviate conditions.

 5      Q. A n d y o u s a i d t h a t t h e S t r i k e F o r c e w a s

 6           eliminated before you became deputy police

 7           commissioner?

 8      A. Y e s .

 9      Q. D i d y o u h a v e a n y i n v o l v e m e n t i n t h e d e c i s i o n

10           to eliminate the Strike Force?

11      A. I d i d n o t .

12      Q. A n d a r e y o u f a m i l i a r w i t h t h e B P D H o u s i n g

13           Unit?

14      A. I a m .

15      Q. A n d w h a t w a s t h e H o u s i n g U n i t ?

16                    MS. FREELY:          Objection to form.

17      A. T h e H o u s i n g U n i t s o t h e y w e r e - - t h e y w e r e a

18           unit that was formed to work the public

19           housing developments within the city of

20           Buffalo, the Buffalo Municipal Housing

21           Authority developments.                 The BMHA, as it's

22           known, had a contract with the City.                          They

23           paid a certain dollar amount for police




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                                    JOSEPH GRAMAGLIA


 1           services, and the housing officers worked out

 2           of a housing station which is the station that

 3           I used to work at when I was a housing officer

 4           from '94 to '96 and their primary function was

 5           to patrol the housing developments and respond

 6           to any issues that the BMHA hierarchy --

 7           concerns that they had.

 8      Q. A n d a s d e p u t y c o m m i s s i o n e r f o r o p e r a t i o n s ,

 9           were you part of the Housing Unit command

10           structure?

11      A. A n d f o r g i v e m e , I d o n ' t r e c a l l w h e n t h e y w e r e

12           disbanded.          I believe that I was at the time.

13           Honestly, I didn't look at the dates again.                                I

14           believe there was a short time frame I think

15           that I was.           So if you happen to know the date

16           that they were disbanded, you'd help me out.

17      Q. Y e s .     I believe that the Housing Unit was

18           disbanded around June of 2020 or July.

19      A. O k a y .     Yeah, so I would have --

20      Q. J u l y o f 2 0 2 0 .

21      A. S o I w o u l d h a v e b e e n r e s p o n s i b l e f o r t h e m f o r

22           two years.

23      Q. A n d s o w h a t w e r e y o u r r e s p o n s i b i l i t i e s w i t h




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                                   JOSEPH GRAMAGLIA


 1      A. I d o n ' t k n o w a b o u t m a j o r .    I mean, I've had to

 2           make some Manual of Procedure changes.                          You

 3           know, we've evolved our use of force policy on

 4           several occasions, you know, again, trying to

 5           keep, you know, very current and ahead of the

 6           curve on some things but other than policy and

 7           procedure changes I don't -- nothing major.

 8      Q. H a v e y o u m a d e a n y s i g n i f i c a n t c h a n g e s t o t h e

 9           BPD's traffic enforcement policies or

10           practices?

11                    MR. RUSS:         Objection to form.              You may

12           answer.

13      A. N o .

14      Q. D i d y o u e v e r r e s c i n d S e c t i o n 1 0 . 5 o f t h e M O P

15           which authorizes the BPD to run traffic safety

16           checkpoints?

17      A. I d i d n o t r e s c i n d i t .

18      Q. A n d w h y n o t ?

19      A. Y o u k n o w , i f y o u p u l l u p t h a t s e c t i o n , t h e

20           traffic checkpoints can only be done with, you

21           know, high authorization.                  I'm not going to

22           give -- you know, without a valid reason, I

23           just don't -- you know, I'm not going to give




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                                      JOSEPH GRAMAGLIA


 1            that authorization but, you know, you still

 2            have to keep that in there for, you know, some

 3            safety reasons.              You know, there could

 4            hypothetically be an escaped prisoner where

 5            you have to set up traffic checkpoints.                               If

 6            you could pull up the section of the language

 7            and read it more specifically but, you know,

 8            having something in there and the

 9            authorizations that are required are two

10            different things.

11       Q. O k a y .     But under the MOP you could restart

12            those traffic safety checkpoints at any time,

13            right?

14       A. I ' d h a v e t h e a u t h o r i z a t i o n .    I could, yes.

15       Q. D o e s t h e B P D c o n d u c t p e r f o r m a n c e e v a l u a t i o n s

16            of officers?

17       A. C o n t r a c t u a l l y w e ' r e n o t a b l e t o , n o .      That's a

18            subject of union negotiations.

19       Q. O k a y .     And -- yeah, maybe I will come back to

20            that in a little bit.                  So aside from

21            performance evaluations, does the BPD evaluate

22            officers' performance in any way?

23       A. N o .       Subject to the union negotiations, we're




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